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                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG                    §        MDL NO. 2179
“DEEPWATER HORIZON” IN THE GULF OF                 §
MEXICO, ON APRIL 20, 2010                          §        SECTION J
                                                   §
This Document Relates To:                          §
All cases, 2-10-cv-2771 and 2:10-cv-04536          §        JUDGE BARBIER
                                                   §
                                                   §        MAGISTRATE JUDGE SHUSHAN
                                                   §


                                            ORDER


         Having considered Transocean’s Ex Parte Motion to Exceed Page Limit for

Memorandum in Support of Transocean’s Motion for Partial Summary Judgment,

         IT IS ORDERED that Transocean’s Motion to Enlarge Page Limit is hereby granted.

         New Orleans, Louisiana, this ____ day of November, 2011.



                                                       ___________________________________
                                                             CARL J. BARBIER




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